         Case 2:17-cv-00967-LSC Document 16 Filed 08/02/17 Page 1 of 1                FILED
                                                                             2017 Aug-02 AM 10:39
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION
 DANTRELL BONNER,                      )
                                       )
         Plaintiff,
                                       )
   vs.                                 )
                                       )
 JIM SKINNER FORD, INC., et                          2:17-cv-00967-LSC
                                       )
 al.,
                                       )
         Defendants.                   )
                                       )
                                       )


                                    Order

     Before this Court is the parties’ Motion to Stay Pending Arbitration.

(Doc. 15.) The motion is GRANTED IN PART and DENIED IN PART to the

extent that this action is DISMISSED without prejudice. However, either

party may move this Court to reopen the case in order to enforce any

award resulting from the arbitral proceedings. Costs are taxed as paid.

     DONE and ORDERED this 2nd day of August 2017.



                                            _____________________________
                                                   L. Scott Coogler
                                              United States District Judge
                                                                             186289




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